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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF INDIANA
                                HAMMOND DIVISION

 JOHN DOE,                                      )
                                                ) CIVIL ACTION
              Plaintiff,                        )
 v.                                             )
                                                )
 PURDUE UNIVERSITY, PURDUE                      )
 UNIVERSITY BOARD OF TRUSTEES,                  )
 MITCHELL ELIAS DANIELS, JR., in                )
 his official capacity as President of Purdue   ) No. 2:17-cv-33-JPK
 University, ALYSA CHRISTMAS                    )
 ROLLOCK, in her official capacity at           )
 Purdue University, KATHERINE                   )
 SERMERSHEIM, in her official capacity          )
 at Purdue University,                          )
                                                )
               Defendants.                      )

      JOINT MOTION TO MODIFY SUMMARY JUDGMENT BRIEFING SCHEDULE

        Defendants, The Trustees of Purdue University, Mitchell Elias Daniels, Jr., Alysa

Christmas Rollock and Katherine Sermersheim, by counsel, and Plaintiff, John Doe, by counsel,

stipulate and respectfully move the Court to modify the deadline for briefs in opposition to the

parties’ respective motions for summary judgment (DE 177 and 181) as follows:

        On August 31, 2021, Defendants filed their Motion for Summary Judgment. Plaintiff’s

response is due on September 28. On September 1, 2021, Plaintiff filed his Motion for Summary

Judgment. Defendants’ response is due on September 29. Each pending summary judgment

motion is voluminous.

        The undersigned attorneys have conferred regarding conflicting obligations in other

matters during the week of September 27, 2021 and stipulate and agree to an extension to

October 15, 2021 for each party’s respective deadline for response to the other’s motion for

summary judgment.

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       WHEREFORE, the parties respectfully move the Court to enter an order showing

October 15, 2021 as the deadline for briefs in response to the pending motions for summary

judgment.

 Date: September 13, 2021


 Respectfully submitted,

 /s/ Philip A. Byler (w/permission)                /s/ William P. Kealey
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